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                                                                          Honorable Thomas W. Dore
7                                                                                       Chapter 13
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9                                UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF WASHINGTON
10                                          AT SEATTLE

11
     In Re:
12                                                         Bankruptcy Case No. 20-12450 TWD
     BEVERLY JANE CARY,
13                                                         Adversary. No.: 22-01000-TWD
                                 Debtor
14

15                                                         ORDER GRANTING MOTION TO
     BEVERLY JANE CARY,                                    STRIKE
16
                                 Plaintiff,
17                      v.

18   PATCH SERVICES, LLC d/b/a NOAH;
     PATCH HOMES, INC.; FIRST AMERICAN
19   TITLE INSURANCE COMPANY LENDERS
     ADVANTAGE,
20
                                 Defendants.
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              THIS MATTER came before the undersigned on motion by First American Title
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     Insurance Company Lenders Advantage (“FATIC”) to strike Plaintiff’s Second Amended
24
     Complaint. The Court having reviewed the motion and any materials presented in response
25
     100047/002553/02634484-1                                            LAGERLOF LLP
     ORDER-1                                                          701 PIKE STREET, SUITE 1560
                                                                          SEATTLE, WA 98101
     Case No. 22-01000-TWD
Case 22-01000-TWD               Doc 17-2      Filed 05/02/22   Ent. 05/02/22
                                                                        PHONE: 17:41:42
                                                                               206-492-2300         Pg. 1 of 2
1    thereto, and being otherwise fully advised in the premises; and good cause having been

2    shown for granting the motion,

3             NOW, THEREFORE, IT IS HEREBY ORDERED that Defendant FATIC’s

4    Motion to Strike is GRANTED. Plaintiff Beverly Jane Cary’s Second Amended Complaint

5    is hereby stricken from the judicial record; and the summons is quashed or vacated.

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7                                            /// End of Order ///

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     Presented by:
11
     LAGERLOF LLP
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13   By: s/ Robert A. Bailey
        Robert A. Bailey, WSBA No. 28472
14      701 Pike Street, Suite 1560
        Seattle, WA 98101
15      (206) 492-2300

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     100047/002553/02634484-1                                           LAGERLOF LLP
     ORDER-2                                                         701 PIKE STREET, SUITE 1560
                                                                         SEATTLE, WA 98101
     Case No. 22-01000-TWD
Case 22-01000-TWD               Doc 17-2   Filed 05/02/22     Ent. 05/02/22
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                                                                              206-492-2300         Pg. 2 of 2
